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                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION


In re                                                       Chapter 11

AEARO TECHNOLOGIES LLC, et al., 1                           Case No. 22-02890-JJG-11

                           Debtors.


                                       NOTICE OF APPEARANCE

        Pursuant to Rule 9010(b) of the Federal Rules of Bankruptcy Procedure and Rule B-

9010-1(a) of the Local Bankruptcy Rules of the United States Bankruptcy Court for the Southern

District of Indiana, Michael L. Tuchin, Thomas E. Patterson, Robert J. Pfister, Sasha M. Gurvitz,

and Nir Maoz of KTBS Law LLP hereby enter their appearances as counsel for Aylstock,

Witkin, Kreis & Overholtz, PLLC, which is counsel to approximately 45,000 tort claimants with

claims against the Debtors and is lead counsel for the Plaintiff Steering Committee in the

Multidistrict Litigation styled In re 3M Combat Arms Earplug Products Liability Litigation,

Case No. 19-2885 (N.D. Fla.), and respectfully request that all notices given or required to be

given in this proceeding and all papers served or required to be served in this proceeding be

served upon:

                                 Robert J. Pfister (IN Bar No. 23250-02)
                                Michael L. Tuchin (Pro Hac Vice Pending)
                               Thomas E. Patterson (Pro Hac Vice Pending)
                                Sasha M. Gurvitz (Pro Hac Vice Pending)
                                   Nir Maoz (Pro Hac Vice Pending)
                                            KTBS LAW LLP
                                   1801 Century Park East, 26th Floor
                                         Los Angeles, CA 90067

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  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are set forth in the Debtors’ First Day Motion for Entry of an Order (I) Directing Joint Administration of
Chapter 11 Cases and (II) Granting Related Relief [Docket No. 7]. The location of the Debtors’ service address for
the purposes of these chapter 11 cases is: 7911 Zionsville Road, Indianapolis, Indiana 46268.
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                                    Telephone: (310) 407-4000
                                     Facsimile: (310) 407-9090
                      Emails: rpfister@ktbslaw.com; mtuchin@ktbslaw.com;
             tpatterson@ktbslaw.com; sgurvitz@ktbslaw.com; nmaoz@ktbslaw.com

        PLEASE TAKE FURTHER NOTICE that the foregoing request includes not only the

notices and papers referred to in the Bankruptcy Rules and Local Bankruptcy Rules, but also

includes, without limitation, notices of any application, complaint, demand, hearing, motion,

order, pleading or request, formal or informal, whether transmitted or conveyed by mail,

telephone or otherwise.

        PLEASE TAKE FURTHER NOTICE that neither this Notice of Appearance (the

“Notice”), nor any later appearance, pleading, proof of claim, claim or suit shall constitute a

waiver of (i) the right to have final orders in non-core matters entered only after de novo review

by a District Judge, (ii) the right to trial by jury in any proceeding related to, or triable in, these

cases or any case, controversy or proceeding related to these cases, (iii) the right to have the

District Court withdraw the reference in any matter subject to mandatory or discretionary

withdrawal, (iv) any objection to the jurisdiction of this Court for any purpose other than with

respect to this Notice, (v) an election of remedy, or (vi) any other rights, claims, actions,

defenses, setoffs or recoupments as appropriate, in law or in equity, under any agreements, all of

which rights, claims, actions, defenses, setoffs and recoupments are expressly reserved.

DATED: July 26, 2022                    KTBS LAW LLP


                                        By: /s/ Robert J. Pfister
                                             Robert J. Pfister
                                             Counsel for Aylstock, Witkin, Kreis & Overholtz, PLLC
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                                CERTIFICATE OF SERVICE

      I hereby certify that on July 26, 2022, a copy of the foregoing NOTICE OF
APPEARANCE was filed electronically. Notice of this filing will be sent to the following
parties through the Court’s Electronic Case Filing System. Parties may access this filing through
the Court’s system.

 Jeffrey A Hokanson - jeff.hokanson@icemiller.com, bgnotices@icemiller.com,
 david.young@icemiller.com

 U.S. Trustee – ustpregion10.in.ecf@usdoj.gov

                                                    /s/ Robert J. Pfister
                                                    Robert J. Pfister
